
17 So.3d 973 (2009)
Beverly E. CRAIG, et al.
v.
HOME STATE COUNTY MUTUAL INSURANCE COMPANY, et al.
George Harry Crump
v.
Home State County Mutual Insurance Company, et al.
David L. Willis, et ux.
v.
Gulf Coast Building Supply, et al.
Karen Brown
v.
Home State County Mutual Insurance Company, et al.
David Frick
v.
Home State County Mutual Insurance Company, et al.
Allen James Anderson, et al.
v.
Steve Frank Coronado, et al.
No. 2009-CC-1159.
Supreme Court of Louisiana.
September 18, 2009.
Denied.
